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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

VENIAS JORDAN, JR.,
                                          Case No.: 20-cv-11947
      Plaintiff,                          Hon. Arthur J. Tarnow
                                          Magistrate Judge David R. Grand
v.
DETROIT PUBLIC SCHOOLS COMMUNITY
and DR. NIKOLAI VITTI,

      Defendants.


DRIVER, SCHON                              DETROIT PUBLIC SCHOOLS
& ASSOCIATES PLC                           COMMUNITY DISTRCT
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          DEFENDANTS’ RESPONSE IN OPPOSITION TO
  PLAINTIFFS’ EMERGENCY EX PARTE MOTION FOR TEMPORARY
   RESTRAINING ORDER ON THE ISSUE OF REQUIRING COVID-19
                   TESTING FOR STDENTS



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                   STATEMENT OF ISSUES PRESENTED

  I.   Should Plaintiffs’ Motion for Emergency Ex Parte Temporary Restraining
       Order and Order To Show Cause Why A Preliminary Injunction Should Not
       Issue Be Denied on the issue of requiring COVID-19 testing for students?

            Defendants Detroit Public Schools Community District and Dr.
            Nikolai P. Vitti answer “Yes.”

            Plaintiffs answer “No.”




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             DEFENDANTS’ RESPONSE IN OPPOSITION TO
     PLAINTIFFS’ EMERGENCY EX PARTE MOTION FOR TEMPORARY
      RESTRAINING ORDER ON THE ISSUE OF REQUIRING COVID-19
                      TESTING FOR STDENTS



I.      PROCEDURAL STATEMENT

        On July 15, 2020, Plaintiffs filed a Verified Class Action Complaint for

Injunctive Relief and Plaintiffs’ Motion For Ex Parte Temporary Restraining

Order and Order to Show Cause Why A Preliminary Injunction Should Not Be

Issued in the Michigan Court of Claims against State of Michigan Governor

Gretchen Whitmer, State of Michigan departments, City of Detroit Mayor Mike

Duggan, Detroit Public Schools Community District (“DPSCD” or “District”) and

DPSCD Superintendent Dr. Nikolai P. Vitti (“Dr. Vitti”). DPSCD and Dr. Vitti

(collectively “Defendants”) filed a motion for summary disposition pursuant to

MCR 2.116 (C)(4) seeking dismissal due to lack of jurisdiction. On July 17, 2020,

Judge Cynthia Diane Stephens held a hearing wherein Plaintiffs’ counsel agreed to

voluntarily dismiss Mayor Duggan, DPSCD and Dr. Vitti.

        On July 20, 2020, Plaintiffs initiated an action against DPSCD and Dr. Vitti

in the Wayne County Circuit Court by filing: (i) Class Action Complaint for

Declaratory and Injunctive Relief and Petition for Writ of Mandamus, for

Violation of Civil Rights (“Complaint”); and (ii) Plaintiffs’ Motion For Ex Parte

Temporary Restraining Order, Writ of Mandamus, and Order to Show Cause Why

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A Preliminary Injunction Should Not Issue (“Mandamus Motion”). The Complaint

alleges both federal and state claims. On July 20, 2020, DPSCD and Dr. Vitti

removed the lawsuit (by attaching a copy of the Complaint and Mandamus

Motion) to this Court because all of the prerequisites had been met for removal

pursuant to 28 U.S.C. §1441(a) and (b). On July 20, 2020, Plaintiffs filed with this

Court, a motion titled Plaintiff’s Motion for Emergency Ex Parte Temporary

Restraining Order and Order to Show Cause Why a Preliminary Injunction Should

Not Issue (“TRO Motion”) (Docket No. 3). Later that day, Plaintiffs seemingly

filed a duplicate of the TRO motion in this Court, at Docket No. 6. Notably, the

TRO Motion does not seek mandamus relief.

      On July 22, 2020 at 11:00 a.m., this Honorable Court held a scheduling

conference via Zoom. At the conference, the court remanded two of Plaintiff’s

claims and held the TRO in abeyance pending the parties agreement to a stipulated

temporary restraining order. The Court has stated if DPSCD doesn’t agree to

require COVID-19 testing of students, the Court will grant Plaintiff’s TRO and

“shut down” summer school.

II.   INTRODUCTION

      DPSCD is offering in-person summer school as allowed by, and in

compliance with, applicable Executive Orders 110, 115 and 120 and Michigan

Department of Education’s Summer Programming Guidance – MEMO #COVID-


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19-070. The Executive Orders 110, 115 or 120, the MDE Memorandum nor

Centers for Disease Control requires testing of students. Nonetheless, Plaintiffs

have filed this instant action seeking to stop DPSCD’s delivery of in-person

summer school services to the 630 students whose families and 160 teachers who

have chosen to attend/work in-person summer school scheduled to occur from July

13 to August 6, 2020, Monday – Thursday from 8:30 a.m. to 12:30 p.m. Parents

and teachers have a right to decide for themselves whether to attend in-person

summer school – it is not Plaintiffs’ decision to make.

       As will be explained below, Plaintiffs’ claims are without legal or factual

merit, do not support the issuance of a temporary restraining order or preliminary

injunction.   In fact, the legal deficiencies of their claims should also lead to

dismissal of their Complaint in its entirety.

III.   BACKGROUND

       A. MDE and WAYNE Resa Approve In-Person Summer School Moving
          Forward & DPSCD Implements Summer School In Accordance
          With All Applicable Requirements

       On June 12, 2020, the Michigan Department of Education issued “Summer

Programming       Guidance    –   MEMO          #COVID-19-070”   (“MDE    Summer

Programming Memo”), attached as Exhibit A. The memorandum provides in

pertinent part:

       [P]rograms permitted by these executive orders with the
       aforementioned restrictions include but are not limited to traditional
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      summer school programming . . . . As long as the program is in
      compliance with the parameters of E.O. 2020-110, E.O 2020-115 and
      E.O. 2020-120, local districts have the discretion to determine the
      delivery model of summer programs: remote instruction or in-person
      instruction within school buildings or in other settings outside of
      school.

Exhibit A (emphasis added). Upon receipt of the memo, DPSCD shared its desire

to offer summer school with Wayne County Regional Educational Service Agency

(“Wayne RESA”). In response, Wayne RESA’s Superintendent replied

      I am taking the recent guidelines from the state as you can offer Face
      to face summer school. You will have to follow their social
      distancing guidelines, which is 6 feet and I believe PPE equipment. If
      that is feasible for you, you can do it.

Randy Liepa and Nikolai Vitti email exchange dated June 15, 2020, attached

Exhibit B.

      With parents’ request for in-person summer school, teachers’ agreement to

teach in person summer school and the green light from the state and county to

conduct in-person summer school – DPSCD is offering summer school from July

13 – August 6, 2020 on Monday – Thursday from 8:30 a.m. to 12:30 p.m.

Approximately 20 air conditioned buildings are being utilized. To date, we have

had a daily high attendance of 620 and the following requirements are in place as

required by applicable Executive Orders: (i) social distancing; (ii) face masks worn

by students and staff; (iii) hand washing/sanitizing stations; (iv) daily temperature




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checks; (v) daily symptom checks; (vi) a 1:15 adult to student ratio; and (vii) each

employee required to produce a negative COVID-19 before returning to work.

   B. None of the Applicable Law Requires COVID-19 Testing of Students

       All of the aforementioned precautions comply with both Executive Orders

110, 115 and 120 – the law that governs in-person summer school and the MDE

Memo – the guidance that governs in-person summer school. Notably, nowhere in

the Executive Orders or MDE Memo is the requirement that students be tested.

See Executive Orders 110, 115 and 120, attached as Composite Exhibit C.

       Despite the facts that DPSCD is conducting voluntary summer school in

accordance with all applicable Executive Orders, Plaintiffs seek to require DPSCD

to test all students.

       It is worth noting that none of the Governor’s Executive Orders (those that

apply to summer school and those that apply to school in the fall) require testing of

students. To that end, if DPSCD is required to do this it will lead to Detroit being

treated inequitably from any other school district in the state – and even the

country. Simply put, DPSCD will be treated unfairly as its’ families are having to

carry a burden that has not been placed on other families in the state of Michigan

(and even the entire United States of America). As stated earlier, Novi and Ecorse

are also conducting in-person summer school and they aren’t being required to test

all students in order to continue summer school.


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IV.     STANDARD OF REVIEW

        Plaintiffs are not entitled to a preliminary injunction under the Sixth

Circuit’s well-established four-factor test. Under this test, the following factors

must be balanced: (i) whether Plaintiff has shown a strong or substantial likelihood

of success on the merits; (ii) whether Plaintiff has demonstrated irreparable injury;

(iii) whether the issuance of a preliminary injunction would cause substantial harm

to others; and (iv) whether the public interest is served by the issuance of an

injunction. Capobianco v. Summers, 377 F.3d 559, 561 (6th Cir. 2004). The first

factor is frequently dispositive in the first amendment context. Id. See also

DejaVu of Nashville, Inc. v. Metro Gov’t of Nashville & Davidson County, Tenn.,

274 F.3d 377, 400 (6th Cir. 1989).

V.      ARGUMENT

        A.    Plaintiffs Do Not Have a Strong or Substantial Likelihood of
              Success on the Merits

              1.    Plaintiffs’ Substantive Due Process - Bodily Integrity
                    Claims under Michigan Constitution, Article I §17 and
                    Fourteenth Amendment Fail as a Matter of Law

     “To sustain a substantive due process claim, a plaintiff must show that the

particular interest in question is protected by the Fourteenth Amendment and that

the government’s deprivation of that interest ‘shocks the conscience.” Guertin v.


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Michigan, 912 F.3d 907, 922 (6th Cir. 2019). “The critical question in determining

the appropriate standard of culpability is whether the circumstances allowed the

state actors time to fully consider the potential consequences of their conduct.”

Ewolski v. City of Brunswick, 287 F.3d 492, 510 (6th Cir. 2002). The focus is

upon the entirety of the situation – “the type of harm, the level of risk of the harm

occurring, and the time available to consider the risk of harm are all necessary

factors in determining whether an official was deliberately indifferent.” Id. at 591.

      The 6th Circuit has stressed that deliberate indifference claims require

“something more”:

      [A] something that we have variously described as callous disregard
      for the risk of injury, or action in an arbitrary manner that shocks the
      conscience or that indicates an intent to injure. That additional
      element – be it termed callous disregard or intent to injure – ensures
      that only the most egregious official conduct can be said to be
      arbitrary in the constitutional sense.

Schroder v. City of Fort Thomas, 412 F.3d 724, 730 (6th Cir. 2005).

      Applying the foregoing standards, Plaintiffs cannot establish that Defendants

are being deliberately indifferent.

             2. Plaintiffs’ Substantive Due Process - Bodily Integrity Claims
                under Michigan Constitution, Article I §17 Fails as a Matter of
                Law

        Plaintiffs correctly assert that the Due Process clause of Art 1 § 17 of the

  Michigan Constitution provides that the state may not deprive a person of life,

  liberty or property without due process of law. Plaintiffs further assert that the
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  U.S. Supreme Court has recognized a liberty interest in bodily integrity in

  circumstances where state action exposed residents of Flint, Michigan to unsafe

  drinking water, citing Mays v. Snyder, 323 Mich. App. 1, 62 (2018), and that the

  Defendants are acting in a manner that is deliberately indifferent toward the

  bodily integrity of Plaintiffs by reopening the schools for summer school.

  However, the actions of the officials in Mays v. Snyder, involving the allegedly

  intentional poisoning of water users in the city of Flint, and the actions of

  DPSCD and Dr. Vitti in his official capacity are clearly distinguishable.

        In Mays, Plaintiffs alleged nonconsensual entry of contaminated and toxic

  water into their bodies as a result of a decision to pump water from the Flint

  River into their homes. The Mays Court decided that such actions may be fairly

  characterized as being so outrageous as to be truly conscience-shocking, and

  therefore could qualify as a violation of the plaintiffs’ right to bodily integrity

  under the Michigan Constitution.

        In the instant case, there is no evidence that Defendants engaged in

  decisions that would deliberately expose students or staff to COVID-19. To the

  contrary, DPSCD and Dr. Vitti have taken all reasonable measures to avoid the

  spread of COVID-19 among students and staff by requiring a daily symptom

  check, a daily temperature check, daily disinfection of classrooms and buses,

  mandating facial coverings, mandating social distancing and reducing the teacher-

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  to-student ratio.   All of these carefully planned and executed measures cut

  against Plaintiffs’ argument that DPSCD and Dr. Vitti are acting in a manner that

  show deliberate indifference, and for these reasons, Plaintiffs’ substantive due

  process claim under both the Michigan Constitution and 14th Amendment must

  fail.

              3. Plaintiffs’ Equal Protection – Racial Discrimination Claims
                 under Fourteenth Amendment and Michigan Constitution,
                 Article I §2 & Nondiscrimination in Education Claim under
                 Michigan Constitution, Article VIII §2 Fail as a Matter of Law

          The Fourteenth Amendment of the U.S Constitution provides that “[n]o

  state shall . . . deny to any person within its jurisdiction the equal protection of

  the laws.” U.S. Constitution. Amend. XIV. Similarly, the Michigan Constitution

  at, Article I, Section 2, provides that “[n]o person shall be denied the equal

  protection of the laws.” Mich Const Art I, § 2. In reliance on these sections of

  the United States and Michigan constitutions, Plaintiffs faultily assert that

  “Defendants’ decision to choose Detroit, a majority-black city, as its experiment

  to reopen its school sites for in-person instruction for summer school deliberately

  exposes children, teachers, staff . . . violates their right to equal protection.” See

  Complaint at ¶87. This assertion must fail as a matter of law.

          In Harville v. State Plumbing and Heating, Inc., 218 Mich. App. 302

  (1996), the court stated it was convinced that Art. 1, § 2 of the Michigan

  Constitution, like the Fourteenth Amendment, prohibits only intentional or
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  purposeful discrimination. Harville at 319. The fact that DPSCD, which is

  comprised of mostly African-American students, decided to offer in-person,

  summer classes, does not equate to intentional or purposeful discrimination

  against its largest population of students. Inherent in DPSCD’s operations is the

  unavoidable fact that virtually everything DPSCD does affects mostly African-

  American students. Whether DPSCD opens or closes or engages in a

  combination of both, necessarily impacts its African-American students more

  than any other group because that is the population DPSCD largely serves.

  Plaintiffs’ allegations that DPSCD is experimenting on its own children is non-

  sensical at best and reckless at worst.

       B.    Plaintiffs Will Not Suffer Irreparable Injury

       A moving party must show that irreparable harm is “both certain and

 immediate, rather than speculative or theoretical.” Mich. Coal. of Radioactive

 Material Users, Inc. v. Griepentrog, 945 F.2d 150, 154 (6th Cir.1991). See

 also Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (“Issuing a

 preliminary injunction based only on a possibility of           irreparable harm is

 inconsistent with our characterization of injunctive relief as an extraordinary

 remedy that may only be awarded upon a clear showing that the plaintiff is entitled

 to such relief.”). In addition, and of critical importance, “the irreparable harm

 requirement contemplates the inadequacy of alternate remedies available to the


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 plaintiff.” Smith & Nephew, Inc. v. Synthes (U.S.A.), 466 F.Supp.2d 978, 982

 (W.D.Tenn. 2006). Thus, “[i]rreparable harm will not be found where alternatives

 already available to the plaintiff make an injunction unnecessary.” Curtis 1000,

 Inc. v. Youngblade, 878 F.Supp. 1224, 1248 (N.D.Iowa 1995).

       Plaintiffs claim that it is a certainty that “among the 2000 students and

 hundreds of school staff in DPSCD summer school, that some have the virus and

 are asymptomatic and will pass it on to others, and that in weeks’ time the first

 positive results will emerge from DPSCD summer school.” Plaintiffs’ Motion for

 Order to Show Cause Why a Preliminary Injunction Should Not Be Issued at p. 4.

 This statement is entirely and purely speculative. In fact, to avoid transmission of

 COVID-19, DPSCD has required: (i) social distancing; (ii) facial coverings for

 staff and students; (iii) daily temperature checks for staff and students; (iv) daily

 self-assessments of symptoms for staff and students; (v) daily disinfecting of

 classrooms and buses; and (vi) a 1:15 adult-to-student ratio in the classrooms.

 Moreover, before reporting to teach summer school, all staff has been required to

 show proof of negative COVID-19 test results. With these measures, Defendants

 have taken responsible and reasonable steps to ensure the safety of the staff and

 students during the brief summer school session. Plaintiffs simply cannot show that

 staff and students will fall ill to COVID-19 by their mere presence at summer

 school where all of these precautions have been implemented. “[I]t is well settled

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 that an injunction will not lie upon the mere apprehension of future injury or where

 the threatened injury is speculative or conjectural.” Dunlap v City of Southfield, 54

 Mich App 398, 403, 221 NW2d 237 (1974).

       Plaintiffs allege a violation of their Substantive Due Process Rights-Bodily

 Integrity under the 14th Amendment. In their motion, in support of this claim,

 Plaintiffs cite to Malam v. Adducci, Case No. 5:20-cv-10829 (E.D. Mich. Apr. 5,

 2020) in support of its argument that Plaintiff’s will suffer irreparable injury.

    However, Malam is clearly distinguishable because, unlike DPSCD students

 who attend summer school voluntarily, the petitioner there was a detainee in a

 correctional facility. In concluding that the COVID-19 pandemic created a high

 risk that absent an injunction the petitioner would suffer irreparable harm in the

 form of loss of health or life as a result of contracting the COVID-19 virus, the

 Court gave great weight to the fact that petitioner was involuntarily confined in a

 county correctional facility, with no ability to leave the facility, or exercise disease

 prevention measures: “[Petitioner’s] detention is mandatory.” p. 1. “[C]orrectional

 and detention facilities “present[ ] unique challenges for control of COVID-19

 transmission among incarcerated/detained persons, staff, and visitors.” p. 7. “ . . .

 many detention conditions create a heightened risk of danger to detainees. These

 include: low capacity for patient volume, insufficient quarantine space, insufficient

 on-site medical staff, highly congregational environments, inability of most


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 patients to leave the facility, and limited ability of incarcerated/detained persons to

 exercise effective disease prevention measures (e.g., social distancing and frequent

 handwashing).” Id. “. . . detention confinement creates a “tinderbox scenario”

 where rapid outbreak is extremely likely, and extremely likely to lead to deadly

 results as resources dwindle on an exponential level.” p. 8. “Respondents have

 confined Petitioner in an environment where she “shares toilets, sinks, phones, and

 showers, eats in communal spaces, and is in close contact with the many other

 detainees and officers.” Petitioner's involuntary interaction with purportedly

 asymptomatic guards who rotate shifts is also a significant exposure

 factor. Petitioner’s involuntary interaction with purportedly asymptomatic guards

 who rotate shifts is also a significant exposure factor.” p. 8

        Noting petitioner’s numerous underlying health issues, the Court concluded

 there was a “substantial risk” of catching the COVID-19 virus for any group of

 human beings in “highly confined conditions, such as petitioner within the CCCF

 facility.” p .9.

        Malam is clearly inapplicable to this case.




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       C.      The Issuance of Injunctive Relief Will Cause Substantial Harm to
               the 630+ Students Attending In-Person Summer School; Harm to
               the Plaintiffs in the Absence of a Preliminary Injunction Does Not
               Outweigh the Harm to Defendants if a Preliminary Injunction Is
               Issued

       As mentioned earlier, attendance for both students and teachers in the

 summer school is entirely voluntary; no one is being forced to attend or to teach.

 For those persons who do want to participate, more than adequate measures, as

 outlined above, have been put in place to minimize the spread of COVID-19.

 Defendants are committed to providing in-person learning for a population of

 students that is already behind the proverbial 8-ball; getting in the way of their

 education should not be rewarded.

    Very recently the Sixth Circuit Court of Appeals held that the right of access to

 education is a fundamental right. Plaintiffs cite no law supporting their claim that

 students who have chosen to attend in-person summer school should be deprived

 of access to same. As such, Plaintiffs’ claim that they would be harmed more than

 DPSCD students by the absence of an injunction is based on speculation and

 conjecture.

       D.      Granting a Preliminary Injunction Will Not Advance The Public
               Interest

       The State of Michigan is currently in Phase 4 of Governor Gretchen

 Whitmer’s plan for reopening the economy. Under that plan, schools are allowed

 to provide in-person summer school in small groups. Here, DPSCD is offering
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 socially distanced classes of 15 or fewer students. The Michigan Department of

 Education has also issued a memorandum authorizing in-person summer school.

 Exhibit B.

       Just as the public has a strong interest in a recovering economy, so too does

 it have an interest in in-person learning for its students. In this regard, DPSCD has

 taken thoughtful, deliberate and careful steps, as required by Governor Whitmer

 and guided by the Centers for Disease Control (“CDC”), to open its doors for

 summer school to give its students the chance they so keenly need in order to catch

 up.

 VI.   CONCLUSION

       There is no legal authority for the judge’s decision to shut down summer

 school if DPSCD doesn’t agree to test all students within 2 days. Plaintiffs’ have

 not shown a likelihood of success on the merits. More specifically, there is no legal

 authority for this ruling under any of Governor Whitmer’s Executive Orders or

 MDE guidance. As a result of the Court’s impending ruling (if DPSCD doesn’t

 enter into a stipulated TRO agreeing to test students) - DPSCD will be treated

 unfairly as its’ families are having to carry a burden that has not been placed on

 other families in State (and even country).


       For this, and all of the other foregoing reasons, Defendants respectfully

 request that Plaintiffs’ Motion For Emergency Ex Parte Temporary Restraining

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 Order to Show Cause Why a Preliminary Injunction Should Not Issue - be denied

 in its entirety.   Alternatively, if the Court is still inclined to require COVID-19

 testing of all students attending DPSCD in-person summer school – we would

 request that testing not be required to begin until Monday, July 27, 2020.



                                        Respectfully Submitted by:

                                        DETROIT PUBLIC SCHOOLS
                                        COMMUNITY DISTRICT
                                        OFFICE OF THE GENERAL COUNSEL

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                                        Counsel for Defendants

 Dated: July 21, 2020




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                           CERTIFICATE OF SERVICE


       I hereby certify that on July 21, 2020, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system which will send

 notification of such filing to all counsel of record.



                                          Respectfully Submitted by:

                                          DETROIT PUBLIC SCHOOLS
                                          COMMUNITY DISTRICT
                                          OFFICE OF THE GENERAL COUNSEL

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